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12

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14                                     UNITED STATES DISTRICT COURT

15                                  NORTHERN DISTRICT OF CALIFORNIA

16    FRANCISCO VALLE,                                   Case No. 21-cv-5636 EMC

17            Plaintiff,                                 DEFENDANTS’ OPPOSITION IN PART TO
                                                         PLAINTIFF’S MOTION FOR LEAVE TO FILE
18            vs.                                        AN AMENDED COMPLAINT

19    PAOLO MORGADO, DENNIS CRAVALHO,                    Hearing Date:           June 23, 2022
      CITY AND COUNTY OF SAN                             Time:                   1:30 p.m.
20    FRANCISCO, and UNKNOWN OFFICERS                    Place:                  Ctrm 5, 17th Floor
      OF THE SAN FRANCISCO PD,
21                                                       Trial Date:             July 10, 2023
              Defendants.
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24

25          Defendants City and County of San Francisco (the “City”), Paulo Morgado, and Dennis

26   Cravalho (collectively, “Defendants”) oppose in part Plaintiff Francisco Valle’s Motion for Leave to

27   File an Amended Complaint (ECF No. 50). Specifically, Defendants object to Plaintiff’s request to

28   replead his state-law claims for (1) intentional infliction of emotional distress (“IIED”) based on
      Defts’ Opp in Part to Mtn to Amend Compl            1                           n:\lit\li2021\210502\01603784.docx
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 1   individual Defendants’ alleged post-arraignment misconduct (Ex. A to Pl.’s Mot., ECF No. 50-1, at

 2   Count VI) and (2) indemnification under California Government Code § 825 against the City (Ex. A to

 3   Pl.’s Mot. at Count XI). This Court has already dismissed those claims under Federal Rule of Civil

 4   Procedure 12(b)(6) (see ECF No. 30 at 15, 18), and the Court’s order constitutes the law of the case.

 5   Accordingly, Plaintiff’s attempt to replead the claims “to preserve all arguments” is improper, (Ex. A

 6   to Pl.’s Mot. ¶ 199 & nn. 2, 3), and the amendments would be futile and prejudicial. For these

 7   reasons, discussed more fully below, Defendants respectfully ask this Court to deny Plaintiff’s request

 8   to amend the complaint to replead the above-mentioned claims.

 9          Separately, Defendants note that although they do not object to Plaintiff’s other proposed

10   amendments to the complaint, they plan to challenge the amended complaint in a motion to dismiss.

11                                               LEGAL STANDARD

12          Plaintiff submits his proposed amended complaint within the stipulated and Court-approved

13   schedule. Plaintiff has not previously amended the complaint. In this circumstance, Federal Rule of

14   Civil Procedure 15(a) provides that leave to amend “shall be freely given when justice so requires.”

15   Leave to amend “is not to be granted automatically,” however. In re W. States Wholesale Nat. Gas

16   Antitrust Litig., 715 F.3d 716, 738 (9th Cir. 2013), aff'd sub nom. Oneok, Inc. v. Learjet, Inc., 575 U.S.

17   373 (2015) (internal quotation marks omitted). A court considers the following five factors in

18   determining whether to grant leave to amend: “(1) bad faith, (2) undue delay, (3) prejudice to the

19   opposing party, (4) futility of amendment; and (5) whether plaintiff has previously amended his

20   complaint.” In re W. States Wholesale Nat. Gas Antitrust Litig., 715 F.3d at 738 (internal quotation

21   marks omitted). Amendment is futile where the new allegations would not cure the deficiencies that

22   led to the dismissal of the prior complaint. Cervantes v. Countrywide Home Loans, Inc., 656 F.3d

23   1034, 1042 (9th Cir. 2011); see also Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1052 (9th Cir. 2008)

24   (where the first amended complaint contained the same defects as the original complaint, and the

25   appellants “fail[ed] to state what additional facts they would plead if given leave to amend” a second

26   time, “amendment would be futile”).

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 1                                                ARGUMENT

 2          The Court should deny Plaintiff’s request to replead his state-law claims for (1) IIED based on

 3   alleged post-arraignment misconduct and (2) indemnification against the City under California

 4   Government Code § 825. Amendments to replead these claims would be futile and would cause

 5   Defendants prejudice.

 6          Regarding futility, this Court has already dismissed the claims, and the Court’s decision is the

 7   law of the case. The law of the case doctrine “ordinarily precludes a court from re-examining an issue

 8   previously decided by the same court . . . in the same case.” Moore v. James H. Matthews & Co., 682

 9   F.2d 830, 833 (9th Cir. 1982). A court’s decision on a factual or legal issue “must be followed in all

10   subsequent proceedings in the same case . . . unless the evidence on a subsequent trial was

11   substantially different, controlling authority has since made a contrary decision of the law applicable

12   to such issues, or the decision was clearly erroneous and would work a manifest injustice.” Id. at 834

13   (internal quotation marks omitted); see also, e.g., Grand Canyon Tr. v. Provencio, 26 F.4th 815, 821

14   (9th Cir. 2022) (similar). Here, Plaintiff does not identify different evidence or a change in controlling

15   authority that would warrant a departure from the Court’s prior rulings on the relevant claims. Nor

16   does Plaintiff argue that the Court’s prior rulings were clearly erroneous. Rather, Plaintiff states that

17   he is repleading the already-dismissed claims “solely to preserve all arguments.” (Ex. A to Pl.’s Mot.

18   ¶ 199 & nn. 2, 3.) This statement confirms that the claims suffer the same defects as they did when the

19   Court ruled on Defendants’ first motion to dismiss; the law of the case governs; and Plaintiff’s

20   proposed amendments would be futile. See Cervantes, 656 F.3d at 1042; Kendall, 518 F.3d at 1052.

21          Relatedly, granting Plaintiff leave to replead the relevant claims would prejudice Defendants

22   by forcing them to file a second motion to dismiss those claims. Defendants should not have to spend

23   time and resources to brief issues this Court has already resolved in their favor.

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                                                  CONCLUSION
 1
            For the foregoing reasons, Defendants respectfully ask the Court to deny Plaintiff’s request for
 2
     leave to amend the complaint to replead his state-law claims for (1) IIED based on individual
 3
     Defendants’ alleged post-arraignment misconduct and (2) indemnification against the City under
 4
     California Government Code § 825.
 5

 6   Date: May 27, 2022                             DAVID CHIU
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                                                    Chief Trial Deputy
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                                                 By: /s/ Meredith B. Osborn
11                                                  MEREDITH B. OSBORN
12                                                  Attorneys for Defendants
                                                    PAULO MORGADO, DENNIS CRAVALHO, and
13                                                  CITY AND COUNTY OF SAN FRANCISCO
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